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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

 MICHAEL PERRONE, TOM TARANTINO         :
 and ROCHELLE ROSEN as a participant in :                Civil Action No.: 19-cv-00923
 and on behalf of the Johnson & Johnson :
 Savings Plan, and on behalf of a class of all
                                        :                CONSOLIDATED CLASS ACTION
 others who are similarly situate,      :                COMPLAINT
                                        :
                 Plaintiffs,            :                JURY TRIAL DEMANDED
                                        :
             v.                         :
                                        :                        (ERISA)
 JOHNSON & JOHNSON, PETER FASOLO,       :
 DOMINIC J. CARUSO, and JOHN DOES 1-20, :
                                        :
                 Defendants.            :

       Plaintiffs Michael Perrone, Tom Tarantino and Rochelle Rosen (“Plaintiffs”), participants

in the Johnson & Johnson Savings Plan (the “Savings Plan”), bring this action in a representative

capacity on behalf of the Savings Plan, and as a class action on behalf of all other similarly situated

participants in and beneficiaries of the Savings Plan and other defined contributions plans sponsored

by Johnson & Johnson (or “J&J” or the “Company”) through which participants purchased or held

stock of Johnson & Johnson, including the Johnson & Johnson Savings Plan for Union Represented

Employees and the Johnson & Johnson Retirement Savings Plan (collectively, the “Plans”).

Plaintiffs bring this action under Sections 502(a)(2) and 502(a)(3) of the Employee Retirement



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Income Security Act of 1974, as amended (“ERISA”), 29 U.S.C. §§ 1132(a)(2) and 1132(a)(3),

against Defendants Johnson & Johnson and the members of the Pension and Benefits Committee

(the “Committee”) during the Class Period (see ¶ 139, infra), including Defendants Peter Fasolo,

Dominic J. Caruso and John Does 1-20 (together, Fasolo, Caruso and John Does 1-20 are the

“Individual Defendants,” and together with Johnson & Johnson, the “Defendants”). By this action,

Plaintiffs seek relief for the Plans for Defendants’ breaches of their ERISA fiduciary duties as set

forth herein. Plaintiffs allege the following based on personal knowledge with respect to their own

circumstances and based on information and belief pursuant to the investigation of their counsel,

which included a review of the Plan’s governing documents; the Plan’s annual reports filed with

the United States Securities and Exchange Commission (“SEC”) and U.S. Department of Labor

(“DOL”); discussions with Plan participants; other SEC filings by J&J; other lawsuits against J&J;

press releases and other public statements issued by J&J; and media reports and analyses regarding

J&J. Plaintiffs believe that substantial additional evidentiary support exists and will emerge for

the allegations set forth herein after there has been a reasonable opportunity for discovery.

           1.   The Individual Defendants, as members of the Committee, are the Plans’ named

fiduciaries pursuant to ERISA § 402, 29 U.S.C. § 1102. As ERISA fiduciaries, Individual

Defendants owe strict fiduciary duties of loyalty and prudence to the Plans and the participants

in and beneficiaries of the Plans. ERISA § 404(a), 29 U.S.C. § 1104(a). ERISA’s fiduciary duties

are “the highest known to the law.” Perez v. First Bankers Tr. Servs., Inc., 2017 WL 1232527, at

*72 (D.N.J. Mar. 31, 2017).

           2.   Defendant Johnson & Johnson, the Plans’ sponsor, is liable for the Individual

Defendants’ fiduciary breaches because the Individual Defendants were acting within the course

and scope of their employment when they engaged in the fiduciary misconduct at issue and


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because Defendant Johnson & Johnson actively and knowingly participated in the Individual

Defendants’ fiduciary breaches.

          3.   The Plans are designed to help Johnson & Johnson’s employees save for

retirement. Each of the Plans is a defined contribution plan. In a defined contribution retirement

plan like the Savings Plan, the plan “provides for an individual account for each participant and

for benefits solely upon the amount contributed to the participant’s account, and any income,

expenses, gains and losses … which may be allocated to such participant’s accounts.” ERISA

§ 3(34), 29 U.S.C. § 1002(34).

          4.   Thus, unlike traditional defined benefit pensions, in defined contribution plans like

the Plans, at retirement participants are entitled to no more than the balance in their individual

accounts. As the Supreme Court explained in 2015, in defined contribution plans like the Plans,

employees’ benefits at retirement “are limited to the value of their own individual investment

accounts, which is determined by the market performance of employee and employer

contributions, less expenses.” Tibble v. Edison Int’l, 135 S. Ct. 1823, 1825 (2015) (emphasis

added).

          5.   At all relevant times, each of the Plans has included as an investment option shares

of stock of Johnson & Johnson, the Plans’ sponsor and the employer of the participants in the

Plans. Plaintiffs owned and purchased Johnson & Johnson stock through their accounts in the

Savings Plan during the Class Period.

          6.   However, for many years Johnson & Johnson’s stock price has been artificially

inflated. One of Johnson & Johnson’s flagship products, its talc Baby Powder, contains asbestos,

a known carcinogen. For decades, Johnson & Johnson’s senior leadership has known that its talc

contained asbestos, but took no action to disclose that information to the public. Indeed, Johnson



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& Johnson’s senior leadership has endeavored to hide from the public the truth about asbestos in

its talc powder products. These efforts were successful, and the public was and has been generally

unaware that Johnson & Johnson’s talc powder contained asbestos. To date, Johnson & Johnson

has not publicly acknowledged that its talc powder contains asbestos.

           7.    The Individual Defendants, who serve as the Plans’ fiduciaries, include many

senior executives of Johnson & Johnson. Mr. Caruso, for example, was the company’s Chief

Financial Officer and a member of the company’s Executive Committee for many years prior to

his retirement in September 2018. Mr. Fasolo was also a member of the company’s Executive

Committee. Johnson & Johnson’s Executive Committee “is the principal management group

responsible for the strategic operations and allocation of the resources of the company.”1

           8.    Defendants knew or should have known that Johnson & Johnson’s stock price was

artificially inflated in value, and knew or should have known that many of the Plans’ participants,

including Plaintiffs, allocated significant portions of their retirement savings to Johnson &

Johnson stock and made additional purchases of Johnson & Johnson stock for their retirement

savings accounts in the Plans on an ongoing basis.

           9.    To date, Defendants have failed to take any action to protect the Plans and their

participants, and have failed to publicly disclose the truth about asbestos in Johnson & Johnson’s

talc-related products.

           10.   By no later than April 13, 2017, it was inevitable that the truth about asbestos in

Johnson & Johnson’s talc products would become known to the public. On that date, Johnson &

Johnson filed its answer to an amended complaint in multidistrict litigation captioned In re



1
 See Johnson & Johnson, “Our Governance,” available at
https://www.jnj.com/caring/citizenship-sustainability/approach/governance (last visiting Jan. 22,
2019).
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Johnson & Johnson Talcum Powder Products Marketing, Sales Practices and Products Liability

Litig., No. 3:16-md-02738 (FLW) (LHG) (the “MDL”). The MDL involves claims against

Johnson & Johnson arising out of personal injuries caused by asbestos in Johnson & Johnson’s

talc powder. Once Johnson & Johnson’s answer had been filed, discovery would begin, and the

large number of Johnson & Johnson’s previously secret internal documents demonstrating the

presence of asbestos in the talc powder and efforts to conceal that information would become

public.

          11.   Despite their knowledge of Johnson & Johnson’s false representations and

concealment of asbestos in its talc powder, the inflation of Johnson & Johnson’s stock price, and

the inevitability of the disclosure of the truth, Defendants took no action to disclose the truth to

the public. Instead, Defendants stayed quiet as the Plans’ participants, including Plaintiffs,

continued to purchase and hold the Johnson & Johnson stock at artificially inflated prices.

          12.   On December 14, 2018, Reuters published an article citing internal Johnson &

Johnson documents showing that Johnson & Johnson’s senior executives had been aware of the

presence of asbestos in its talc powder for decades, and had actively sought to conceal the

information from the public.

          13.   Johnson & Johnson’s stock price declined more than 10% following the Reuters

report, which was picked up and expanded by several other major news outlets, including The

New York Times. The 10% decline corresponded to a loss of $30 billion of Johnson & Johnson’s

market capitalization.

          14.   The decline in Johnson & Johnson’s value was more than the amount of liability

Johnson & Johnson likely faces in lawsuits alleging personal injuries linked to the asbestos in the

talc products, and more than the expected decline in sales of talc products as the public becomes



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aware of the serious health risks associated with exposure to the asbestos in Johnson & Johnson’s

talc powder. Instead, the decline of Johnson & Johnson’s share price included a loss of faith in

Johnson & Johnson itself and the honesty and dependability of the company and its executive

leadership. For a health products company like Johnson & Johnson, the company’s image and

goodwill are significant. For example, Johnson & Johnson valued its goodwill at $31 billion as

of December 31, 2017—nearly 20% of the company’s overall value.

           15.   Moreover, J&J’s undisclosed liabilities have proven to be massive. For instance,

in July 2019, a California jury ordered Colgate & Johnson & Johnson to pay $12 million to a 61-

year old woman who claimed her mesothelioma (a rare asbestos-related cancer) was caused by

using the company’s talcum powder. In May 2019, a New York jury ordered J&J to pay $25

million in compensatory damages and $300 million in punitive damages to a woman who said

she contracted mesothelioma through decades of daily use of J&J’s Baby Powder or its other talc

product, Shower to Shower. See Olson v. Brenntag, 190328/2017, New York Supreme Court

(Manhattan). In March 2019, a California jury ordered J&J to pay a $29 million award in a

mesothelioma case. In August 2017, a California jury awarded a woman $70 million in

compensatory damages and $347 million in punitive damages. See Elisha Echeverria v. Johnson

& Johnson et al., No. B286283 (J&J granted new trial).

           16.   The damage to Johnson & Johnson’s goodwill and reputation has been exacerbated

by Defendants’ continued refusal to admit that its talc products contain asbestos. The longer the

concealment has gone on, the less credible Johnson & Johnson’s statements about health and

safety have become.

           17.   Defendants had ample authority and every opportunity to correct the record and

make the truth about asbestos in Johnson & Johnson’s talc products known to the public. Had


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they done so, the Plans’ participants could have avoided millions of dollars in purchases of

artificially inflated J&J shares, and subsequent losses in the value of the Johnson & Johnson stock

in their Plan accounts when the truth was revealed to the market.

                                 JURISDICTION AND VENUE

       18.     Plaintiffs bring this action pursuant to ERISA §§ 502(a)(2) and 502(a)(3), 29

U.S.C. §§ 1132(a)(2) and (3).

       19.     This Court has subject matter jurisdiction over Plaintiffs’ claims pursuant to

ERISA § 502(e)(1), 29 U.S.C. § 1132(e)(1) and 28 U.S.C. § 1331 because this action arises under

the laws of the United States.

       20.     This Court has general personal jurisdiction over defendant Johnson & Johnson,

which is incorporated in this District, and over any other defendants who reside in this District.

This Court has specific personal jurisdiction over all Defendants because they took the actions

described herein in this district through their management of the Plans, all of which were

administered in this District.

       21.     Pursuant to 29 U.S.C. § 1132(e)(2) venue is proper in this District because the Plan

is administered in this District and the breaches described herein occurred in this District. Venue

is also proper in this district pursuant to 28 U.S.C. § 1391(b)(2) because, for the same reasons, a

substantial part of the events or omissions giving rise to the claim occurred in this District.

                                            PARTIES

       22.     The Plans are employee benefit plans and employee pension benefit plans covered

by ERISA within the meaning of ERISA § 3(2)(A) & (7), 29 U.S.C. § 1002(2)(A) & (7).

       23.     Plaintiff Michael Perrone is an individual residing in the City of Atlantic

Highlands, in Monmouth County, and at all relevant times has been a participant in the Savings



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Plan within the meaning of ERISA § 3(7), 29 U.S.C. § 1102(7). Plaintiff Perrone purchased and

owned Johnson & Johnson stock through his retirement savings account in the Savings Plan

during the Class Period.

           24.   Plaintiff Tom Tarantino is an individual residing in Lawrenceville, Georgia, and

at all relevant times has been a participant in the Savings Plan within the meaning of ERISA §

3(7), 29 U.S.C. § 1102(7). Until 2007, he was an employee of J&J, and he was and continues to

be a participant in the Plan. He purchased and held Johnson & Johnson stock in his Plan

retirement savings account during the Class Period.

           25.   Plaintiff Rochelle Rosen is an individual residing in Beverly Hills, California, and

at all relevant times has been a participant in the Savings Plan within the meaning of ERISA §

3(7), 29 U.S.C. § 1102(7). Until 1994, she was an employee of J&J, and she was and continues

to be a participant in the Plan. She purchased and held Johnson & Johnson stock in her Plan

retirement savings account during the Class Period.

           26.   Defendant Johnson & Johnson, together with its subsidiaries, researches and

develops, manufactures, and sells various products in the health care field worldwide. The

Company is incorporated in New Jersey and its principal executive offices are located at One

Johnson & Johnson Plaza, New Brunswick, New Jersey, 08933. Johnson & Johnson’s common

stock is traded on the New York Stock Exchange (“NYSE”) under the ticker symbol “JNJ.”

           27.   Defendant Peter Fasolo, Ph.D. is an Executive Vice President and Chief Human

Resource Officer of Johnson & Johnson. Mr. Fasolo is a member of the Executive Committee

and the Chairman of the Pension and Benefits Committee.

           28.   Defendant Dominic J. Caruso was the Chief Financial officer of Johnson &

Johnson and a member of the Executive Committee, as well as a member of the Pension and


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Benefits Committee, from 2007 until his retirement in September 2018.

       29.       Doe Defendants 1-20 are members of the Pension & Benefits Committee of

Johnson & Johnson (the “Committee”). The Committee is the named fiduciary for the Plans with

general authority for the management and administration of the Plans.

       30.       Defendants Fasolo, Caruso and Doe Defendants 1-20 are also referred to herein

“Individual Defendants.”

       31.       Each of the Individual Defendants:

                   was directly responsible for the management of the Plan;

                   was directly involved in the day-to-day operations of the Company at the

                    highest levels;

                   was privy to confidential proprietary information concerning the Company and

                    its business and operations;

                   owed a fiduciary duty to the Plan; and

                   failed to take any steps to ensure that the truth about asbestos in Johnson &

                    Johnson’s talc products was disclosed once disclosure became inevitable.

                                ADDITIONAL ALLEGATIONS

       Background

       32.       J&J was founded in 1887 and is engaged in the research and development,

manufacture and sale of a broad range of products in the health care field. The Company currently

has approximately 134,000 employees worldwide spread across more than 260 operating

companies. J&J is located in more than 60 countries, including the U.S., and sells products in

virtually all countries throughout the world.




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            33.   J&J is organized into three business segments: Consumer, Pharmaceuticals, and

 Medical Devices. The Consumer segment focuses on products used in the baby care, oral care,

 beauty, over-the-counter pharmaceutical, women’s health and wound care markets; Johnson’s

 Baby Powder is included in this line of products.

            34.   The Executive Committee of J&J is the principal management group responsible

 for the strategic operations of the Company. This committee oversees and coordinates the

 activities of the Company’s three business segments. Senior management groups at U.S. and

 international operating companies are each responsible for their own strategic plans and the day-

 to-day operations of those companies.      Members of the Executive Committee include its

 Chairman, Alex Gorsky (“Gorsky”), who is also J&J’s CEO and Chairman of the Board; Vice

 Chairman Joaquin Duato (“Duato”), who is a 28-year veteran of J&J and is responsible for the

 Company’s Consumer and Pharmaceutical sectors; J&J’s CFO Caruso (through July 2018); Jorge

 Mesquita (“Mesquita”), who is an Executive Vice President and Worldwide Chairman of the

 Consumer sector; Vice Chairman Paul Stoffels, M.D. (“Stoffels”), who has been with J&J since

 2002 and is the Chief Scientific Officer; Michael Sneed (“Sneed”), who is a 36-year veteran of

 J&J and is the Executive Vice President of Global Corporate Affairs and Chief Communications

 Officer; J&J’s General Counsel Michael H. Ullmann (“Ullmann”); and J&J’s new CFO since July

 2018, Joseph Wolk (“Wolk”).

            35.   J&J’s most widely known and flagship consumer product is Johnson’s Baby

 Powder. It first hit markets well over a century ago in 1894. Johnson’s Baby Powder has long

 been marketed as a product useful to consumers of all ages and has been used generation after

 generation. This seemingly innocent product, though, has been hiding a dark and deadly secret,

 perhaps even since it hit stores in 1894—asbestos, a known carcinogen.


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        36.    The primary ingredient in Johnson’s Baby Powder is talc, an inorganic material

 that is extracted from the earth through mining and later refined for use in consumer products.

 Asbestos naturally occurs underground near talc deposits. When viewed on a microscopic level,

 asbestos looks like tiny dagger-like fibers which penetrate deep into human tissue and lead to

 lung cancer, cancer of the voice box, ovarian cancer, and mesothelioma. The link between

 asbestos and ovarian cancer has been reported since at least 1958; in 2011, the International

 Agency for Research on Cancer named asbestos a “cause” of ovarian cancer.

        37.    Thousands of lawsuits have been filed against J&J alleging that its talc products

 caused cancer, yet J&J has always maintained the same position— “our products do not contain

 asbestos.” However, in a recent asbestos-related ovarian cancer litigation, J&J was ordered by a

 court to produce “troves of internal Johnson & Johnson documents,” which tell an entirely

 different story—J&J has known for decades that its talc products contained asbestos and the

 Company has gone to great lengths to conceal this information from government regulators and

 consumers.

        38.    Johnson & Johnson has known for decades that its talc products, such as its Baby

 Powder, include asbestos fibers and that exposure to those fibers can cause ovarian cancer and

 mesothelioma. The Company misrepresented and failed to disclose the danger that Johnson &

 Johnson’s talc products posed to consumers, Johnson & Johnson’s significant contingent liability

 related to its talc products, and that Johnson & Johnson’s revenues from sales of these products

 were unsustainable due to the dangerous and harmful nature of its talc products.

         39.   According to an article published by Reuters on December 14, 2018, “Johnson &

 Johnson knew for decades that asbestos lurked in its Baby Powder,” internal J&J documents

 examined by Reuters show that the Company was aware of “tainted J&J talc” as early as 1957.



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 Lab reports mentioned “fibrous and ‘acicular,’ or needle-like, tremolite.” Tremolite is a mineral

 that in its naturally occurring fibrous form is classified as asbestos. Lab reports since then, all

 the way into the early 2000s, showed similar findings.

            40.    A November 1967 memo written by William Ashton (“Ashton”), then a -J&J

 executive who had been in charge of J&J’s talc supply for decades, again showed the presence

 of tremolite. Traces of the mineral appeared when samples from a new talc mine located in

 Vermont were tested. Just two years later, in 1969, Ashton penned a memo to a company doctor

 suggesting that J&J rethink its approach. He wrote, “Historically, in our Company, Tremolite

 has been bad … How bad is Tremolite medically, and how much of it can safely be in a talc base

 we might develop?” In response, J&J’s founder’s son, Robert Wood Johnson II, then-retired

 CEO, expressed “concern over the possibility of the adverse effects on the lungs of babies or

 mothers.”

            41.   By the 1970s, asbestos was already widely known as the primary cause of

 mesothelioma, which caused President Nixon to implement regulations setting limits on

 exposure to asbestos dust in the workplace.         In 1971, after receiving reports that “two

 unidentified brands of cosmetic talc appeared to contain asbestos,” the U.S. Food and Drug

 Administration (“FDA”) opened an inquiry. J&J quickly issued a clear public statement: “Our

 fifty years of research knowledge in this area indicates that there is no asbestos contained in the

 powder manufactured by Johnson & Johnson.” However, soon after the public statement, Mount

 Sinai researcher Arthur Langer informed J&J by letter that his team had found “relatively small”

 amounts of asbestos in Johnson’s Baby Powder.

            42.   Throughout the remainder of the 1970s, J&J fought back against the “attack on

 talc,” often by deceiving government regulators. In July of 1971, a delegation of scientists were


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 sent to Washington to meet with the FDA team investigating the presence of asbestos in talc

 products. Both the FDA’s accounts and internal J&J records memorializing the meeting showed

 that J&J talc contained asbestos; the FDA described it at levels “less than 1%” while J&J called

 it “trace amounts.” As the FDA continued its investigation, J&J began sending samples of its

 talc to private and university labs. Although results showed that some samples tested positive

 for asbestos, those findings did not make it into J&J’s final report to the FDA; instead, J&J

 reported that “the ‘results clearly show’ the samples tested ‘contain no chrysotile asbestos.’”

        43.    In 1973, J&J explored acquiring patents on a process being developed by a British

 mineralogist to separate talc from tremolite. Tom Shelley, then director of J&J’s Central

 Research Laboratories in New Jersey, recognized that tremolite might one day be prohibited in

 talc products and therefore a patent on the process of removing it would be valuable to the

 Company. Shelley later penned a memo to one of J&J’s lawyers, “We will want to carefully

 consider the … patents re asbestos in talc. It’s quite possible that we may wish to keep the whole

 thing confidential rather than allow it to be published in patent form and thus let the whole world

 know.” The patent was never acquired.

        44.    Around the same time in 1973, the FDA had finally proposed a rule limiting the

 amount of asbestos contained in talc to 0.1%. Internal J&J documents show that the Company

 recognized that it “may have problems” depending on the particular test the FDA would adopt

 for detecting asbestos in talc. J&J proposed an x-ray scanning technique that would allow for an

 “automatic 1% tolerance for asbestos,” a level ten times that proposed by the FDA. However,

 J&J failed in its efforts and shifted its focus to persuading the FDA that self-policing in the

 industry was a better solution than government regulation. In support, J&J again provided lab

 results showing that after testing samples over a 10-month period its talc contained no asbestos.



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 Yet, just as it had previously done, J&J’s report omitted contradictory findings from independent

 laboratories. Sadly, the FDA abandoned its efforts to regulate asbestos levels in talc.

            45.   In May 1974, the then-head of research and development for one of the largest

 mines supplying talc to Johnson & Johnson wrote a letter to Johnson & Johnson urging Johnson

 & Johnson to take measures to mitigate the risk of harm from the asbestos present in the talc. The

 letter said that “[t]he use of [mitigation systems] is strongly urged by this writer to provide

 protection against what are currently considered to be materials presenting a severe health hazard

 and are potentially present in all talc ores in use at this time.” That document was kept secret by

 Johnson & Johnson until litigation commenced concerning personal injury claims relating to

 Johnson & Johnson’s talc-related products.

            46.   Astonishingly, at first blush, in 1976, the Cosmetic, Toiletry, and Fragrance

 Association (“CTFA”), now known as the Personal Care Products Council, drafted voluntary

 guidelines which limited asbestos levels in talc to 0.5%. However, looking deeper, it is important

 to note two things: (i) the CTFA committee responsible for the guidelines was chaired by a then

 J&J executive, and (ii) the testing procedure, x-ray scanning (the same method proposed by J&J

 to the FDA a couple of years earlier, which is also the same method J&J has reportedly used for

 decades), was not, in fact, designed to detect the most common type of asbestos. J&J appeared

 to have won the “attack on talc” battle. For the next 16 years, J&J continued to produce and sell

 talc products, endangering consumers and raking in profits, as the world seemed to adopt J&J’s

 continued assertions that its talc products were safe.

            47.   In 1989, J&J sold its Vermont talc mines to Cyprus Minerals (“Cyprus”). Three

 years later, in 1992, Cyprus flagged “important environmental issues” in internal memos. It had

 found tremolite in its talc reserves from the Hammondsville mine, which was J&J’s primary


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 source of talc used to manufacture Johnson’s Baby Powder since 1966. Then in 2002 and 2003,

 the operators of the same Vermont talc mine discovered the presence of asbestos fibers in talc

 that was used to produce Johnson’s Baby Powder sold in Canada.

          48.     J&J’s talc safety research is best summed up by its own March 1975 internal

 memo:

         Our current posture with respect to the sponsorship of talc safety studies has been
         to initiate studies on as dictated by confrontation. This philosophy, so far, has
         allowed us to neutralize or hold in check data already generated by investigators
         who question the safety of talc … we minimize the risk of possible self-generation
         of scientific data which may be politically or scientifically embarrassing.

          49.     Various governmental and non-governmental organizations have recognized the

 link between talc and cancer. Upon information and belief, in or about 1990, the FDA asked

 manufacturers of surgical gloves to stop using talc in their products. In or about 1996, the FDA

 asked the condom industry to stop dusting condoms with talc. In 2005, the Fifth Edition of

 “Myths & Facts About Ovarian Cancer. What You Need to Know,” was published by The

 Oncology Group and listed “Use of Talc (Baby Powder) in the Genital Area” as a risk factor.

 Myths & Facts about ovarian cancer. What you need to know (Fifth Edition). The Oncology

 Group,           CMPMedica            (November         1,       2005),        available        at

 http://imaging.ubmmedica.com/cancernetwork/forpatients/pdfs/7_M&F%20Ovarian%20Cance

 r.pdf

          50.     In 2006, the Canadian government classified talc as a “very toxic, cancer causing

 substance.” Talcum Powder Ovarian Cancer Lawsuits Update. The Legal Examiner (February

 5,      2017),     available     at    https://pinellas.legalexaminer.com/health/medical-devices-

 implants/talcum-powder-ovarian-cancer-lawsuits-update/. In 2008, the Cancer Prevention

 Coalition petitioned the FDA to require a prominent warning on talc products that frequent



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 perineal talc application increases the risk of ovarian cancer. Talc Use in Genital Area Linked

 to Increased Risk for Ovarian Cancer. Medscape (October 10, 2008), available at

 https://www.medscape.org/viewarticle/581862. In 2010, the International Association for the

 Research of Cancer classified talc-based body powder as a human carcinogen. Preventable

 Exposures Associated With Human Cancers Int’l Ass’n for the Research of Cancer (Nov. 10,

 2010) available at https://monographs.iarc.fr/wp-content/uploads/2018/06/ Cogliano_2011_

 JNCI_Preventable_Exposures.pdf. Both the National Cancer Institute and American Cancer

 Society warn that genital talc use is a risk factor for ovarian cancer. Talcum Powder and Cancer.

 American Cancer Society (December 4, 2018), available at https://www.cancer.org/cancer/

 cancer-causes/talcum-powder-and-cancer.html.

            J&J’s False and Misleading Statements and Material Omissions in the Company’s
            Financial Reports

            51.   On February 22, 2013, the Company filed a Form 10-K for the fiscal year ended

 December 30, 2012 (the “2012 10-K”) with the SEC, which provided the Company’s year-end

 financial results and position and stated that the Company’s disclosure controls and procedures

 were effective as of December 30, 2012. The 2012 10-K stated that Management’s Report on

 Internal Control Over Financial Reporting “is incorporated herein by reference to the material

 under the caption ‘Management’s Report on Internal Control Over Financial Reporting’ of the

 Annual Report, filed as Exhibit 13 to this Report on Form 10-K.” Exhibit 13 to the 2012 10-K

 stated that the Company’s internal control over financial reporting was effective as of December

 30, 2012. The 2012 10-K was signed by Executive Committee members Gorsky and Caruso.

 The 2012 10-K also contained signed certifications pursuant to the Sarbanes-Oxley Act of 2002

 (“SOX”) by Gorsky and Caruso attesting to the accuracy of financial reporting, the disclosure of

 any material changes to the Company’s internal controls over financial reporting, and the

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 disclosure of all fraud.

        52.     The 2012 10-K discussed J&J’s baby products, stating in pertinent part:

        The Consumer segment includes a broad range of products used in the baby care,
        skin care, oral care, wound care and women’s health care fields, as well as
        nutritional and over-the-counter pharmaceutical products, and wellness and
        prevention platforms. The Baby Care franchise includes the JOHNSON’S® Baby
        line of products.

        53.     The 2012 10-K discussed J&J’s commitment to “delivering high quality and

 innovative products,” and its research activities of “demonstrating product efficacy and regulatory

 compliance prior to launch,” stating in pertinent part:

        Research and Development

        Research activities represent a significant part of the Company’s businesses.
        Research and development expenditures relate to the processes of discovering,
        testing and developing new products, improving existing products, as well as
        demonstrating product efficacy and regulatory compliance prior to launch.
        The Company remains committed to investing in research and development
        with the aim of delivering high quality and innovative products…

        Environment

        The Company is subject to a variety of U.S. and international environmental
        protection measures. The Company believes that its operations comply in all
        material respects with applicable environmental laws and regulations.

                                          *       *        *

        Management’s Objectives

        The Company manages within a strategic framework aimed at achieving
        sustainable growth. To accomplish this, the Company’s management operates the
        business consistent with certain strategic principles that have proven successful
        over time. To this end, the Company participates in growth areas in human health
        care and is committed to attaining leadership positions in these growth areas
        through the development of high quality, innovative products and services.

 (Emphasis added).




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            54.    The 2012 10-K discussed the regulations that J&J is subject to, including U.S.

 regulations concerning “product safety, efficacy, manufacturing, advertising, labeling and safety

 reporting,” stating in pertinent part:

            Most of the Company’s businesses are subject to varying degrees of governmental
            regulation in the countries in which operations are conducted, and the general trend
            is toward increasingly stringent regulation. In the United States, the drug, device,
            diagnostics and cosmetic industries have long been subject to regulation by various
            federal and state agencies, primarily as to product safety, efficacy, manufacturing,
            advertising, labeling and safety reporting.

            55.     Exhibit 13 to the 2012 10-K discussed that the risks and uncertainties facing the

 Company are, among others, “product efficacy or safety concerns resulting in product recalls or

 regulatory action.”

            56.    Exhibit 13 to the 2012 10-K discussed the product liability cases against J&J’s

 subsidiaries, while stating that its “subsidiaries are confident of the adequacy of the warnings and

 instructions for use that accompany the products at issue,” stating in pertinent part:

            Certain subsidiaries of Johnson & Johnson are involved in numerous product
            liability cases. The damages claimed are substantial, and while these subsidiaries
            are confident of the adequacy of the warnings and instructions for use that
            accompany the products at issue, it is not feasible to predict the ultimate outcome
            of litigation. The Company has established product liability accruals in
            compliance with ASC 450-20 based on currently available information, which in
            some cases may be limited. Changes to the accruals may be required in the future
            as additional information becomes available.

 (Emphasis added.)

            57.    On February 21, 2014, the Company filed a Form 10-K for the fiscal year ended

 December 29, 2013 (the “2013 10-K”) with the SEC, which provided the Company’s year-end

 financial results and position and stated that the Company’s disclosure controls and procedures

 was effective as of December 29, 2013. The 2013 10-K stated that Management’s Report on

 Internal Control Over Financial Reporting “is incorporated herein by reference to the material


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 under the caption ‘Management’s Report on Internal Control Over Financial Reporting’ of the

 Annual Report, filed as Exhibit 13 to this Report on Form 10-K.” Exhibit 13 to the 2013 10-K

 stated that the Company’s internal control over financial reporting was effective as of December

 29, 2013. The 2013 10-K was signed by Executive Committee members Gorsky and Caruso.

 The 2013 10-K also contained signed SOX certifications by Gorsky and Caruso attesting to the

 accuracy of financial reporting, the disclosure of any material changes to the Company’s internal

 controls over financial reporting, and the disclosure of all fraud.

        58.     The 2013 10-K discussed J&J’s baby products, stating in pertinent part:

        The Consumer segment includes a broad range of products used in the baby care,
        skin care, oral care, wound care and women’s health fields, as well as nutritionals,
        over-the-counter pharmaceutical products and wellness and prevention platforms.
        The Baby Care franchise includes the JOHNSON’S® Baby line of products.

        59.     The 2013 10-K discussed J&J’s commitment to “delivering high quality and

 innovative products,” and its research activities of “demonstrating product efficacy and regulatory

 compliance prior to launch,” stating in pertinent part:

        Research and Development

        Research activities represent a significant part of the Company’s businesses.
        Research and development expenditures relate to the processes of discovering,
        testing and developing new products, improving existing products, as well as
        demonstrating product efficacy and regulatory compliance prior to launch.
        The Company remains committed to investing in research and development
        with the aim of delivering high quality and innovative products…

        Environment

        The Company is subject to a variety of U.S. and international environmental
        protection measures. The Company believes that its operations comply in all
        material respects with applicable environmental laws and regulations.

                                           *      *        *

        The Company engages in areas of human health care where there is an opportunity
        to make a meaningful difference, and is committed to creating value by developing


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            broadly accessible, high quality, innovative products and services.

 (Emphasis added).

            60.    The 2013 10-K discussed the regulations that J&J is subject to, including U.S.

 regulations concerning “product safety, efficacy, manufacturing, advertising, labeling and safety

 reporting,” stating in pertinent part:

            Most of the Company’s businesses are subject to varying degrees of governmental
            regulation in the countries in which operations are conducted, and the general trend
            is toward increasingly stringent regulation. In the United States, the drug, device,
            diagnostics and cosmetic industries have long been subject to regulation by various
            federal and state agencies, primarily as to product safety, efficacy, manufacturing,
            advertising, labeling and safety reporting.

            61.    Exhibit 13 to the 2013 10-K discussed that the risks and uncertainties facing the

 Company are, among others, “product efficacy or safety concerns resulting in product recalls or

 regulatory action.”

            62.    Exhibit 13 to the 2013 10-K discussed the product liability cases against J&J’s

 subsidiaries, while stating that its “subsidiaries believe they have substantial defenses,” stating in

 pertinent part:

            Certain subsidiaries of Johnson & Johnson are involved in numerous product
            liability claims and lawsuits involving multiple products. Claimants in these cases
            seek substantial compensatory and, where available, punitive damages. While
            these subsidiaries believe they have substantial defenses, it is not feasible to
            predict the ultimate outcome of litigation. The Company has established product
            liability accruals in compliance with ASC 450-20 based on currently available
            information, which in some cases may be limited. Changes to the accruals may be
            required in the future as additional information becomes available.

 (Emphasis added).

            63.    On May 12, 2014, J&J issued the following statement in an article published by

 Fox 32, titled “Popular Baby Powder Allegedly Caused Cancer in Pro-Figure Skater”:

            We have no higher responsibility than the health and safety of consumers who rely
            on our products. It is important for consumers to know that the safety of cosmetic

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        talc is supported by decades of scientific evidence and independent peer-
        reviewed studies.

 (Emphasis added).

        64.     On February 24, 2015, the Company filed a Form 10-K for the fiscal year ended

 December 28, 2014 (the “2014 10-K”) with the SEC, which provided the Company’s year-end

 financial results and position and stated that the Company’s disclosure controls and procedures

 was effective as of December 28, 2014. The 2014 10-K stated that Management’s Report on

 Internal Control Over Financial Reporting “is incorporated herein by reference to the material

 under the caption ‘Management’s Report on Internal Control Over Financial Reporting’ of the

 Annual Report, filed as Exhibit 13 to this Report on Form 10-K.” Exhibit 13 to the 2014 10-K

 stated that the Company’s internal control over financial reporting was effective as of December

 28, 2014. The 2014 10-K was signed by Executive Committee members Gorsky and Caruso. The

 2014 10-K also contained signed SOX certifications by Gorsky and Caruso attesting to the

 accuracy of financial reporting, the disclosure of any material changes to the Company’s internal

 controls over financial reporting, and the disclosure of all fraud.

        65.     The 2014 10-K discussed J&J’s baby products, stating in pertinent part:

        The Consumer segment includes a broad range of products used in the baby care,
        oral care, skin care, over-the-counter pharmaceutical, women’s health and wound
        care markets. Baby Care includes the JOHNSON’S® Baby line of products.

        66.     The 2014 10-K discussed J&J’s commitment to “delivering high quality and

 innovative products,” and its research activities of “demonstrating product efficacy and regulatory

 compliance prior to launch,” stating in pertinent part:

        Research and Development

        Research activities represent a significant part of the Company’s businesses.
        Research and development expenditures relate to the processes of discovering,
        testing and developing new products, improving existing products, as well as


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            demonstrating product efficacy and regulatory compliance prior to launch.
            The Company remains committed to investing in research and development
            with the aim of delivering high quality and innovative products…

            Environment

            The Company is subject to a variety of U.S. and international environmental
            protection measures. The Company believes that its operations comply in all
            material respects with applicable environmental laws and regulations.

                                             *       *      *

            The Company engages in areas of human health care where there is an opportunity
            to make a meaningful difference, and is committed to creating value by developing
            broadly accessible, high quality, innovative products and services.

 (Emphasis added).

            67.    The 2014 10-K discussed the regulations that J&J is subject to, including U.S.

 regulations concerning “product safety, efficacy, manufacturing, advertising, labeling and safety

 reporting,” stating in pertinent part:

            Most of the Company’s businesses are subject to varying degrees of governmental
            regulation in the countries in which operations are conducted, and the general trend
            is toward increasingly stringent regulation. In the U.S., the drug, device,
            diagnostics and cosmetic industries have long been subject to regulation by various
            federal and state agencies, primarily as to product safety, efficacy, manufacturing,
            advertising, labeling and safety reporting.

            68.    Exhibit 13 to the 2014 10-K discussed that the risks and uncertainties facing the

 Company are, among others, “product efficacy or safety concerns resulting in product recalls or

 regulatory action.”

            69.    Exhibit 13 to the 2014 10-K discussed the product liability cases against J&J’s

 subsidiaries, while stating that its “subsidiaries believe they have substantial defenses,” stating in

 pertinent part:

            Certain subsidiaries of Johnson & Johnson are involved in numerous product
            liability claims and lawsuits involving multiple products. Claimants in these cases
            seek substantial compensatory and, where available, punitive damages. While

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        these subsidiaries believe they have substantial defenses, it is not feasible to
        predict the ultimate outcome of litigation. The Company has established product
        liability accruals in compliance with ASC 450-20 based on currently available
        information, which in some cases may be limited. In addition, product liability
        accruals can represent projected product liability for thousands of claims around
        the world, each in different litigation environments and with different fact patterns.
        Changes to the accruals may be required in the future as additional information
        becomes available.

 (Emphasis added).

        70.     On April 8, 2015, J&J stated on its website that:

        Various agencies and governmental bodies have examined whether talc is a
        carcinogen, and none have concluded that it is. These include the U.S. Food and
        Drug Administration and National Toxicology Program, part of the U.S.
        Department of Health and Human services.

        71.     On February 24, 2016, the Company filed a Form 10-K for the fiscal year ended

 January 3, 2016 (the “2015 10-K”) with the SEC, with the SEC, which provided the Company’s

 year-end financial results and position and stated that the Company’s internal control over

 financial reporting and disclosure controls and procedures were effective as of January 3, 2016.

 The 2015 10-K was signed by Executive Committee members Gorsky and Caruso. The 2015 10-

 K also contained signed SOX certifications by Gorsky and Caruso attesting to the accuracy of

 financial reporting, the disclosure of any material changes to the Company’s internal controls

 over financial reporting, and the disclosure of all fraud.

        72.     The 2015 10-K discussed J&J’s commitment to “delivering high quality and

 innovative products,” as well as its research activities of “demonstrating product efficacy and

 regulatory compliance prior to launch,” stating in pertinent part:

        Research and Development

        Research activities represent a significant part of the Company’s businesses.
        Research and development expenditures relate to the processes of discovering,
        testing and developing new products, improving existing products, as well as
        demonstrating product efficacy and regulatory compliance prior to launch.


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            The Company remains committed to investing in research and development
            with the aim of delivering high quality and innovative products…

            Environment

            The Company is subject to a variety of U.S. and international environmental
            protection measures. The Company believes that its operations comply in all
            material respects with applicable environmental laws and regulations.

                                              *      *       *

            The Company engages in areas of human health care where there is an opportunity
            to make a meaningful difference, and is committed to creating value by developing
            broadly accessible, high quality, innovative products and services.

 (Emphasis added).

            73.    The 2015 10-K discussed the regulations that J&J is subject to, including U.S.

 regulations concerning “product safety, efficacy, manufacturing, advertising, labeling and safety

 reporting,” stating in pertinent part:

            The Company’s businesses are subject to varying degrees of governmental
            regulation in the countries in which operations are conducted, and the general trend
            is toward increasingly stringent regulation. In the U.S., the drug, device and
            cosmetic industries have long been subject to regulation by various federal and
            state agencies, primarily as to product safety, efficacy, manufacturing, advertising,
            labeling and safety reporting.

            74.    The 2015 10-K discussed that the risks and uncertainties facing the Company are,

 among others, “product efficacy or safety concerns resulting in product recalls or regulatory

 action.”

            75.    The 2015 10-K discussed the product liability cases against J&J’s subsidiaries,

 while stating that its “subsidiaries believe they have substantial defenses,” stating in pertinent

 part:

            Certain subsidiaries of Johnson & Johnson are involved in numerous product
            liability claims and lawsuits involving multiple products. Claimants in these cases
            seek substantial compensatory and, where available, punitive damages. While
            these subsidiaries believe they have substantial defenses, it is not feasible to

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         predict the ultimate outcome of litigation. The Company has established accruals
         for product liability claims and lawsuits in compliance with ASC 450-20 based on
         currently available information, which in some cases may be limited. The
         Company accrues an estimate of the legal defense costs needed to defend each
         matter. For certain of these matters, the Company has accrued additional amounts
         such as estimated costs associated with settlements, damage and other losses.
         Product liability accruals can represent projected product liability for thousands of
         claims around the world, each in different litigation environments and with
         different fact patterns. Changes to the accruals may be required in the future as
         additional information becomes available.

 (Emphasis added).

         76.     On December 30, 2016, J&J touted the safety and effectiveness of talc in its

 products on its website at https://www.safetyandcarecommitment.com/Ingredients/Talc, stating

 in pertinent part:

         In our products

         We continue to use talc in our products because decades of science have
         reaffirmed its safety. Because of its safety and effectiveness, we confidently
         include pharmaceutical grade talc in our products. Your trust in our products and
         your confidence using them every day is a huge responsibility—that’s why we
         only use ingredients in our products deemed safe by the latest science.

         Science, research, clinical evidence and 30 years of studies by medical experts
         around the world continue to support the safety of cosmetic talc.

 (Emphasis added).

         77.     On February 27, 2017, the Company filed a Form 10-K for the fiscal year ended

 January 1, 2017 (the “2016 10-K”) with the SEC, with the SEC, which provided the Company’s

 year-end financial results and position and stated that the Company’s internal control over

 financial reporting and disclosure controls and procedures were effective as of January 1, 2017.

 The 2016 10-K was signed by Executive Committee members Gorsky and Caruso. The 2016 10-

 K also contained signed SOX certifications by Gorsky and Caruso attesting to the accuracy of

 financial reporting, the disclosure of any material changes to the Company’s internal controls



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 over financial reporting, and the disclosure of all fraud.

            78.    The 2016 10-K discussed J&J’s baby products, stating in pertinent part:

            The Consumer segment includes a broad range of products used in the baby care,
            oral care, beauty (previously referred to as skin care), over-the-counter
            pharmaceutical, women’s health and wound care markets. Baby Care includes the
            JOHNSON’S® line of products.

            79.    The 2016 10-K discussed the pending lawsuits against J&J and its subsidiaries

 based on nondisclosure of alleged health risks associated with talc contained in J&J’s baby

 products, stating in pertinent part:

            Claims for personal injury have been made against Johnson & Johnson Consumer
            Inc. and Johnson & Johnson arising out of the use of JOHNSON’S® Baby Powder.
            The number of pending product liability lawsuits continues to increase, and the
            Company continues to receive information with respect to potential costs and the
            anticipated number of cases. Lawsuits have been primarily filed in state courts in
            Missouri, New Jersey and California. In addition, a federal multi-district litigation
            proceeding has been created for this litigation in the District Court of New Jersey.
            The Company has established an accrual for defense costs in connection with
            product liability litigation associated with JOHNSON’S® Baby Powder. Changes
            to this accrual may be required in the future as additional information becomes
            available.

                                              *      *       *

            In June 2014, the Mississippi Attorney General filed a complaint in Chancery
            Court of The First Judicial District of Hinds County, Mississippi against Johnson
            & Johnson and Johnson & Johnson Consumer Companies, Inc. (now Johnson &
            Johnson Consumer Inc.) (JJCI). The complaint alleges that defendants failed to
            disclose alleged health risks associated with female consumers’ use of talc
            contained in JOHNSON’S® Baby Powder and JOHNSON’S® Shower to Shower
            (a product no longer sold by JJCI) and seeks injunctive and monetary relief. This
            matter is currently scheduled for trial in September 2017.

                                              *      *       *

            In May 2014, two purported class actions were filed in federal court, one in the
            United States District Court for the Central District of California and one in the
            United States District Court for the Southern District of Illinois, against Johnson
            & Johnson (J&J) and Johnson & Johnson Consumer Companies, Inc. (now
            Johnson & Johnson Consumer Inc.) (JJCI), alleging violations of state consumer
            fraud statutes based on nondisclosure of alleged health risks associated with talc

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        contained in JOHNSON’S® Baby Powder and JOHNSON’S® Shower to Shower
        (a product no longer sold by JJCI). Both cases seek injunctive relief and monetary
        damages; neither includes a claim for personal injuries. In October 2016, both
        cases were transferred to the United States District Court for the District Court of
        New Jersey as part of a newly created federal multi-district litigation. In December
        2016, J&J and JJCI filed a motion to dismiss one of the cases.

        80.     The 2016 10-K discussed J&J’s commitment to “delivering high quality and

 innovative products,” and its research activities of “demonstrating product efficacy and regulatory

 compliance prior to launch,” stating in pertinent part:

        Research and Development

        Research activities represent a significant part of the Company’s businesses.
        Research and development expenditures relate to the processes of discovering,
        testing and developing new products, improving existing products, as well as
        demonstrating product efficacy and regulatory compliance prior to launch. The
        Company remains committed to investing in research and development with the
        aim of delivering high quality and innovative products…

        Environment

        The Company is subject to a variety of U.S. and international environmental
        protection measures. The Company believes that its operations comply in all
        material respects with applicable environmental laws and regulations.

                                           *      *        *

        The Company is broadly based in human health care, and is committed to
        creating value by developing accessible, high quality, innovative products and
        services.

 (Emphasis added).

        81.     The 2016 10-K discussed that the risks and uncertainties facing the Company are,

 among others, “[p]roduct efficacy or safety concerns, whether or not based on scientific evidence,

 potentially resulting in product withdrawals, recalls, regulatory action on the part of the U.S. Food

 and Drug Administration (or international counterparts), declining sales and reputational

 damage.”



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            82.    The 2016 10-K discussed the product liability cases against J&J and its

 subsidiaries, while stating that “the Company believes it has substantial defenses,” stating in

 pertinent part:

            Johnson & Johnson and certain of its subsidiaries are involved in numerous
            product liability claims and lawsuits involving multiple products. Claimants in
            these cases seek substantial compensatory and, where available, punitive damages.
            While the Company believes it has substantial defenses, it is not feasible to
            predict the ultimate outcome of litigation. The Company has established accruals
            for product liability claims and lawsuits in compliance with ASC 450-20 based on
            currently available information, which in some cases may be limited. The
            Company accrues an estimate of the legal defense costs needed to defend each
            matter when those costs are probable and can be reasonably estimated. For certain
            of these matters, the Company has accrued additional amounts such as estimated
            costs associated with settlements, damages and other losses. To the extent adverse
            verdicts have been rendered against the Company, the Company does not record
            an accrual until a loss is determined to be probable and can be reasonably
            estimated. Product liability accruals can represent projected product liability for
            thousands of claims around the world, each in different litigation environments
            and with different fact patterns. Changes to the accruals may be required in the
            future as additional information becomes available.

            The most significant of these cases include the DePuy ASR™ XL Acetabular
            System and DePuy ASR™ Hip Resurfacing System, the PINNACLE® Acetabular
            Cup System, pelvic meshes, RISPERDAL®, XARELTO® and JOHNSON’S®
            Baby Powder. As of January 1, 2017, in the U.S. there were approximately 2,000
            plaintiffs with direct claims in pending lawsuits regarding injuries allegedly due
            to the DePuy ASR™ XL Acetabular System and DePuy ASR™ Hip Resurfacing
            System, 9,400 with respect to the PINNACLE® Acetabular Cup System, 54,800
            with respect to pelvic meshes, 18,500 with respect to RISPERDAL®, 16,900 with
            respect to XARELTO® and 3,100 with respect to JOHNSON’S® Baby Powder.

 (Emphasis added).

            83.    On September 21, 2017, Ernie Knewitz, a spokesman for Johnson & Johnson, said

 in an emailed statement to Bloomberg that:

            “We are confident that our talc products are, and always have been, free of asbestos,
            based on decades of monitoring, testing and regulation,” Knewitz said. “Historical
            testing of samples by the FDA, numerous independent laboratories, and numerous
            independent scientists have all confirmed the absence of asbestos in our talc
            products.”


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        84.    On November 16, 2017, Reuters published an article titled, “Johnson & Johnson

 wins California lawsuit claiming asbestos in talc caused cancer,” wherein a J&J spokesperson

 was quoted stating that “Johnson’s Baby Powder has been around since 1894 and it does not

 contain asbestos or cause mesothelioma or ovarian cancer” (emphasis added).

        85.    As recently as January 22, 2019, Johnson & Johnson touted the safety and

 effectiveness of talc in its products on its website at https://www.johnsonsbaby.com.ph/baby-

 products/johnsons-baby-powder, stating in pertinent part:

        Is talc safe for my baby’s skin?

        JOHNSON’S® Baby talc products are made using U.S. Pharmacopeial (USP) grade
        talc to ensure it meets the highest-quality, purity and compliance standards. Our
        talc is carefully selected, processed and tested to ensure that is asbestos free,
        as confirmed by regular testing conducted since the 1970s.

        Our confidence in using talc is based on a long history of safe use and more than
        30 years of research by independent researchers, scientific review boards and global
        regulatory authorities.

        Read more about our Safety & Care Commitment here: http://www.safetyand
        carecommitment.com/ingredient-info/other/talc

 (Emphasis added).

        86.    The Company’s statements in paragraphs 49-83 were materially false and

 misleading because: (a) Defendants failed to disclose the fact that J&J talc products contained

 asbestos; (b) J&J’s senior officers had been aware for decades of the presence of asbestos in the

 Company’s talc products; (c) that exposure to these products could cause cancer; and (d) that J&J

 is subject to substantial liability in lawsuits for personal injuries caused by exposure to the

 Company’s talc products.

 The Truth is Revealed




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            87.   On December 14, 2018, an investigative report by Reuters detailed the fact that

 Johnson & Johnson had known for decades about, and concealed the presence of asbestos in, its

 products. See Lisa Girion, Special Report: J&J Knew For Decades That Asbestos Lurked In Its

 Baby Powder, REUTERS (Dec. 14, 2018) available at https://www.reuters.com/article/us-johnson-

 johnson-cancer-special-report/special-report-jj-knew-for-decades-that-asbestos-lurked-in-its-

 baby-powder-idUSKBN1OD1RQ.

            88.   The report by Reuters also exposed the fact that Johnson & Johnson took measures

 to influence regulators’ attempts to limit the presence of asbestos in consumer products like the

 Johnson & Johnson products at issue and that Johnson & Johnson had funded some of the

 scientific research it used to buttress its earlier claims that its products were asbestos-free. Shares

 of Johnson & Johnson stock declined by more than 12.5% following the release of this report.

                     DEFENDANTS’ BREACHES OF FIDUCIARY DUTY

            89.   Throughout the Class Period, Defendants knew or should have known about J&J’s

 failure to disclose the truth about its talc products. Defendants knew or should have known that

 J&J’s public SEC filings were materially false and misleading, and that J&J’s stock price did not

 reflect material information about the Company. They further knew or should have known that

 J&J, along with Executive Committee members Gorsky and Caruso, misled the public in its SEC

 filings on which the public was relying. Yet Defendants did nothing to act upon that knowledge

 to protect the retirement savings of the Plan participants to whom they owed their fiduciary duties.

            90.   Defendant Fasolo was a member of the Executive Committee, a committee

 composed of J&J’s most senior managers who oversee and coordinate the activities of the

 Company’s three business segments, including the Consumer segment.                  Members of the

 Executive Committee included its CEO Gorsky; CFO Caruso; Duato, who is responsible for the


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 Company’s Consumer and Pharmaceutical sectors; Worldwide Chairman of the Consumer Sector

 Mesquita; Chief Scientific Officer Stoffels; Chief Communications Officer Sneed; General

 Counsel Ullmann; and new CFO Wolk.

        91.     CEO Gorsky and CFO Caruso were the Sarbanes-Oxley co-signatories of J&J’s

 SEC filings, and, indeed, were the people who actually made many of J&J’s misleading

 statements and material omissions that artificially drove up the Company’s stock price. They

 were centrally involved in the preparation of the financial statements, including with respect to

 what was and was not disclosed regarding the safety of the Company’s talc products. They were

 responsible for ensuring that that reporting complied with the federal securities laws, which of

 course require truth and accuracy in all financial reporting. Just like the CEOs before him, as

 seen throughout the internal J&J documents that were recently made public, Gorsky was aware

 of J&J’s longtime position that its talc products were “safe” and all of the past and present

 scientific evidence to the contrary.

        92.     Duato and Mesquita were heads of J&J’s Consumer segment, the business unit

 responsible for the manufacturing and sale of Johnson’s Baby Powder, and oversaw all aspects

 of that segment. This included, along with Stoffels, oversight of the testing of talc products for

 asbestos.

        93.     Sneed, as Chief Communications Officer, was responsible for the preparation and

 oversight of all statements made to consumers regarding the safety of J&J’s talc products.

        94.     Ullmann, as J&J’s General Counsel, oversaw all of the Company’s legal matters,

 including the thousands of lawsuits filed against J&J for its failure to warn consumers of the

 dangers associated with the use of its talc products. Ullmann also oversaw and reviewed the

 collection of the damning internal documents that were eventually produced in pending



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 litigations; he had direct knowledge of this evidence, which showed that J&J had been aware of

 the presence of asbestos in its talc products since the 1950s.

            95.   Through his membership on the Executive Committee, Fasolo was directly

 involved in frequent discussions about the presence of asbestos in the Company’s talc products.

 Arguably, no one else at J&J was more centrally involved in the Company’s misrepresentations

 than the members of the Executive Committee. No one else was better positioned to understand

 the effect that these misrepresentations were having on J&J’s stock price than the members of the

 Executive Committee, including Fasolo.

            96.   Given the longstanding concealment by J&J of the asbestos in its talc, and the

 circulation of this information throughout the Company, it is far more likely than not that each

 Defendant knew or should have known that the misrepresentations regarding the presence of

 asbestos in the Company’s talc products. The truth was concealed from the public, enabled J&J’s

 stock to trade at an artificially high prices, and when the truth finally did emerge, J&J’s stock

 price dropped as that artificial inflation value was wiped away.

            97.   Fasolo, as well as the other members of the Committee, had a front row seat as

 J&J continuously misrepresented the safety of its talc products. And each Defendant was also a

 fiduciary of the Plan, charged under ERISA with ensuring the prudence of Plan investments, well

 aware that the Fund was a popular Plan investment, and also aware that this popular investment

 had become an imprudent one. Yet none of them took a single action to protect Plan participants

 from that imprudent and ultimately harmful investment.

            98.   As Plan fiduciaries, Defendants were required to investigate and monitor whether

 the Fund was a prudent retirement investment and to cause corrective disclosures to be made

 about J&J. Notwithstanding these duties, Defendants did nothing to protect the retirement savings


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 of the Plan participants from harm as the result of the artificial inflation of J&J’s stock price.

        99.     Defendants had the ability to effectuate corrective public disclosures to cure the

 fraud consistent with the requirements of the federal securities laws to correct the artificial

 inflation. Fasolo, as a member of the Executive Committee, was uniquely situated to fix this

 problem. He could have tried to cause truthful or corrective disclosures to be made much earlier

 to cure the Company’s misrepresentations and material omissions and to make the Fund a prudent

 investment again for the Plan.

        100.    If Defendants had caused corrective public disclosure near the very beginning of

 J&J’s misrepresentations and material omissions—at the beginning of the Class Period—almost

 all of the artificial inflation of J&J’s stock price that occurred could have been avoided, and

 virtually no Plan participants who purchased inflated shares of the Fund would have been harmed.

 But as the concealment went on, more and more Plan participants made purchases at artificially

 high prices, the harm to Plan participants steadily increased. As two experts framed the issue:

        If the fraud occurs on one day at the beginning of the class period so that the gap between
        the value line and the price line appears immediately, the bias will be small because only
        investors who purchased the securities in the first few days of the class period are affected
        by the error. However, if the fraud consists of a series of omissions and misrepresentations
        so that the gap between the price line and the value line widens slowly, the inflation will
        be overstated for a much larger group of purchasers.

 Bradford Cornell and R. Gregory Morgan, Using Finance Theory to Measure Damages in Fraud

 on the Market Cases, 37 UCLA L. Rev. 883, 911 (1990) (emphasis added).

        101.    Defendants also needed to act to prevent future harm and damage to the Plan’s

 investment in J&J stock. This position was at risk from a large stock price correction when the

 public learned the truth and realized that the Company had concealed a fraud. As time passed,

 J&J stock price inflated further due to the misrepresentations and material omissions and the size

 of the scandal grew, making the eventual collapse worse. The concealment of this critical


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 information by the Company put the Plan’s holding of J&J stock at risk for a serious and lasting

 decline in value, and hurt management’s credibility and the long-term prospects of J&J as an

 investment. This significant harm to the Plan could have been prevented or mitigated by timely

 disclosure.

            102.   This reputational damage is not merely theoretical. Economists and finance

 experts have conducted numerous empirical studies on the matter, and concluded “the

 reputational penalty” a company suffers because it perpetrates a prolonged misrepresentation is

 significantly greater than any regulatory fines or other penalties that it may occur—in fact, the

 reputational penalty is “7.5 times the sum of all penalties imposed through the legal and regulatory

 system.” Jonathan M. Karpoff, D. Scott Lee and Gerald S. Martin, The Cost to Firms of Cooking

 the Books, Journal of Financial and Quantitative Analysis, Vol. 43, No. 3 (Sept. 2008).

 Moreover, “[f]or each dollar that a firm misleadingly inflates its market value, on average, it loses

 this dollar when its misconduct is revealed, plus an additional $3.08 … [of which] $2.71 is due

 to lost reputation.” See id. (emphasis added). And this reputational damage, unsurprisingly,

 increases the longer the misrepresentations and material omissions goes on. Id.

            103.   Defendants cannot argue that the federal securities laws prevented them from

 causing a truthful disclosure to be made. In this situation, ERISA and the federal securities laws

 compelled exactly the same action—tell the truth and correct the inflated stock price. No law or

 duty required them to conceal or prevent the disclosure of the truth—quite the opposite.

            104.   This also means that Defendants knew—or should have known—that disclosure

 of the asbestos in J&J’s talc products was going to happen one way or another. J&J had spent

 over 60 years concealing the fact that asbestos was present in its talc products. The Company

 sought to influence and manipulate government agencies by withholding all evidence which did


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 not support its misrepresentations that its products were safe. It was more likely than not that the

 Company’s concealment would soon be discovered, as evidenced by the increasing number of

 users of its products developing cancer, the increasing number of lawsuits filed by victims, and

 the increasing number of those cases overcoming motions to dismiss and proceeding on to

 discovery, which Defendants knew (or should have known). When the internal documents

 showing the perpetration of the massive coverup and misrepresentation were made public, the

 truth would certainly have to be disclosed to the public. In other words, J&J’s misrepresentations

 about the safety of its talc products were a ticking time bomb. Eventually, that bomb would go

 off and the truth would have to be disclosed, bringing the artificial inflation of J&J’s stock to a

 swift and painful end. If Defendants were really considering that timely disclosures would do

 Plan participants more harm or good, they should have considered that, given the likelihood of

 the truth coming out, a stock price correction was unavoidable—the only relevant question for

 them should have been whether it would be better for Plan participants for the correction to occur

 sooner or later. Given the overwhelming evidence and research showing that later disclosure of

 the truth and correction of artificial inflation increases the risk of a harsher price correction, as

 well as a slower-than-necessary price recovery, and given the virtual certainty that J&J’s

 concealment was going to be revealed in discovery, Defendants should have recognized that

 earlier disclosure was by far the less harmful option than the one that they did choose—namely,

 waiting for the truth to come out on its own. This decision by Defendants led to a much harsher

 price correction, and a more sluggish recovery, than was necessary.

        105.    Defendants could not have reasonably believed that attempting to effectuate

 truthful, corrective disclosure would do more harm than good to the Plan or its participants. First

 and foremost, the participation of the fiduciaries in the concealment and misrepresentation of



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 material information from Plan participants runs counter to ERISA’s fundamental obligation that

 fiduciaries must communicate truthfully and accurately with those to whom a fiduciary duty is

 owed. At a minimum, Defendants had the fiduciary obligation to cause the truth to be disclosed

 to correct the artificial inflation of J&J stock and not to perpetuate it.

            106.   Truthful disclosure was also needed to prevent worse future harm to the Plan and

 J&J’s stock price. Defendants may argue that they were concerned that correcting the artificial

 inflation would temporarily lower the stock price, but that concern should not have deterred

 disclosing the truth. Every stock overvaluation in history, when corrected, has resulted in a

 temporary drop in the stock price; that is an inherent quality of efficient markets. But here, with

 disclosure a virtual certainty regardless and an increasing risk of a harsher correction and a slower

 recovery, Defendants should have disclosed the truth sooner rather than later to minimize the

 ongoing harm (to prevent further artificial inflation and purchases at excessive prices) as well as

 worse future damage to J&J’s stock price, and, therefore, the retirement savings of Plan

 participants invested in the Fund.

            107.   The longer that J&J’s concealment of the truth went on, the more Plan participants

 bought at artificially inflated prices, and the size of the harm to each purchaser increased over

 time as the stock price inflated. As a result, J&J stock had farther to fall when the truth inevitably

 came out, so that the purchasers were hurt even worse as the result of choosing to invest in the

 Fund.

            108.   The Plan holders of Fund shares suffered greater harm and damage in this same

 manner from Defendants’ failure to end the fraud. While they held Fund shares over the period

 of time when the stock price was artificially appreciating in value, they were deceived by the false

 growth. They suffered greater losses when J&J’s stock price corrected, and fell further due to the


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 loss of management credibility. They also were deprived of the option of transferring their shares

 into one of the different, prudent investment alternatives under the Plan, which would have spared

 them from the greater losses when the stock correction took place. And they are burdened by the

 outcome of a slower-than-necessary stock-price recovery due to J&J’s prolonged

 misrepresentation of the truth and the reputational harm that it caused.

         109.    Additionally, the issuance of a corrective disclosure was arguably required by the

 federal securities laws, reifying the inevitability of the truth’s coming out. By the very same

 mechanism that J&J could have used to make corrective disclosures to the general public under

 the federal securities laws, it could also have made disclosures to Plan participants, because Plan

 participants are, after all, part of the general public. Defendants did not have to make a “special”

 disclosure only to Plan participants, but could simply have caused, through personnel with

 financial disclosure responsibilities—including some of the Defendants in this case—one

 corrective public disclosure to be made to the market and thereby simultaneously satisfied their

 obligations under ERISA and the Company’s obligations under the federal securities laws.

         110.    And, even if Defendants determined that public disclosure was not required by the

 securities laws, disclosure was certainly not prohibited by them. As discussed above, the truth’s

 emergence, and thus J&J’s stock price correction, was inevitable. Thus, Defendants, in weighing

 harm versus good, should have concluded that even a disclosure not required by the securities

 laws would, in this case, be less harmful than waiting for the disclosure to happen through some

 other mechanism—in this case, the public disclosure of J&J’s internal documents produced in

 recent litigation.

         111.    Indeed, earlier disclosure by J&J would have affirmatively benefitted the Plan and

 its participants, as well as mitigated the harm. With the truth about J&J’s fraud and concealment,



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 Plan participants could properly evaluate the Fund versus their other investment alternatives for

 their retirement savings. Plan participants considering new purchases with their contributions

 could select healthier, prudent investment options available through the Plan which outperformed

 J&J stock during the Class Period. And over the long term, the failure to act by the Plan

 fiduciaries to disclose corporate fraud is likely to have a chilling effect on future purchases of the

 Fund by Plan participants, because their trust in their employer has likely been eroded by this

 malfeasance. Such an effect constitutes a net harm to the Plan.

            112.   Millions upon millions of dollars were lost from the retirement accounts of J&J

 employees. Defendants, as Plan fiduciaries, are directly responsible for this enormous harm that

 its breaches of duty caused.

            113.   Defendants could have, and should have, disclosed the facts about the presence of

 asbestos in Johnson & Johnson’s talc products as soon as they became aware of them. However,

 Defendants failed to make any corrective disclosures, even after it became inevitable that the truth

 about the presence of asbestos in Johnson & Johnson’s talc powder would become public.

            114.   On information and belief, Defendants were or should have been aware that

 Johnson & Johnson’s talc powder products contained asbestos. Many of the Committee members

 were also members of Johnson & Johnson’s Executive Committee, which handled matters of the

 highest importance to Johnson & Johnson, including Defendants Fasolo and Caruso.

            115.   By no later than April 13, 2017, it was inevitable that the truth about asbestos in

 Johnson & Johnson’s talc products would become known to the public. As noted above, Johnson

 & Johnson filed its answer in the MDL regarding personal injury and product liability claims

 arising out of asbestos in Johnson & Johnson’s talc powder. Once Johnson & Johnson’s answer

 had been filed, discovery began, and the large number of Johnson & Johnson’s previously secret


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 internal documents demonstrating the presence of asbestos in the talc powder and efforts to

 conceal that information would become public.

        116.    For example, Dr. Joanne Waldstreicher, J&J’s longtime chief medical officer, was

 deposed during discovery in the MDL in April of 2018. During her deposition, Dr. Waldstreicher

 was examined about recently-unsealed documents that discussed the presence of asbestos in its

 talc-related products.

        117.    Despite their knowledge of Johnson & Johnson’s false representations and

 concealment of asbestos in its talc powder, the inflation of Johnson & Johnson’s stock price, and

 the inevitability of the disclosure of the truth once discovery began in the MDL, Defendants took

 no action to protect the Plans from further harm by disclosing the truth to the public.

        118.    A proper disclosure could have, and should have, been made in the regular course

 of Johnson & Johnson’s securities filings. Indeed, Johnson & Johnson used its securities filings

 repeatedly during the Class Period to perpetrate false statements about the absence of asbestos in

 its talc-related products. Those statements are currently the subject of pending claims for

 violations of the federal securities laws.

        119.    Defendants’ failures to make corrective disclosures caused numerous participants

 in the Plans to continue making purchases of Johnson & Johnson stock despite the fact that the

 price of the stock was artificially inflated. Moreover, Defendants’ failure to make corrective

 disclosure compounded and magnified the reputational harm that Johnson & Johnson has suffered

 and will continue to suffer as the truth about the asbestos in its talc powder becomes public.

        120.    Making a corrective disclosure once it became inevitable that the public would

 learn about the asbestos in the talc powder was an alternative action that the Defendants could

 have taken that would have been entirely consistent with the securities laws and which no prudent



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 fiduciary could have viewed as more likely to harm the Plan than to help it.

            121.   Nor are the corrective disclosures at issue here merely a matter of hindsight. It

 would have been obvious to any prudent and loyalty fiduciary no later than April of 2017 that

 corrective disclosure would have benefitted the Plans. As the Second Circuit has explained, “[a]

 reasonable business executive could plausibly foresee that the inevitable disclosure of

 longstanding corporate fraud would reflect badly on the company and undermine faith in its future

 pronouncements.” Jander v. Ret. Plans Comm. of IBM, 910 F.3d 620, 629 (2d Cir. 2018).

            122.   Many economists and financial analysts have concluded that corporate

 misrepresentation and concealment of material facts has significant reputational consequences

 that translate into concrete economic harm. For example, reputational penalties have been found

 to include “a loss of sales by a firm that engages in consumer fraud… and increases in the rate of

 return required by investors when a firm issues vague or misleading financial statements.”

 Deborah L. Murphy, Ronald E. Shrieves & Samuel L. Tibbs, Understanding the Penalties

 Associated with Corporate Misconduct: An Empirical Examination of Earnings and Risk, Journal

 of Financial and Quantitative Analysis, Vol. 44, No. 1 (Feb. 2009). Moreover, studies have shown

 “a significant negative average abnormal stock price reaction (loss in firm value) when allegations

 of corporate misconduct are announced.” Id. See also Jonathan M. Karpoff, D. Scott Lee and

 Gerald S. Martin, The Cost to Firms of Cooking the Books, Journal of Financial and Quantitative

 Analysis, Vol. 43, No. 3 (Sept. 2008). Indeed, the longer the misleading corporate conduct lasts,

 the greater the reputational harm will likely be.

            123.   In Johnson & Johnson’s case, the reputational harm from the news stories about

 asbestos has been real and dramatic. For example, analysts noted that the Reuters report would

 cause “significant damage… for J&J’s valuable brand name” and that “the brand name an


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 accompanying trust are critical” for Johnson & Johnson’s success. See Ciara Linnane, Johnson

 & Johnson’s Stock Slammed After Report it Knew of Asbestos in Baby Powder, Marketwatch.com

 (Dec. 14, 2018), available at https://www.marketwatch.com/story/johnson-johnson-stock-

 slammed-by-report-it-knew-of-asbestos-in-baby-powder-2018-12-14.

                    DEFENDANTS’ FIDUCIARY STATUS UNDER ERISA

        124.    ERISA requires that every plan identify “one or more” “named fiduciaries” with

 general responsibility for administering the plan. ERISA § 402(a)(1).

        125.    According to its charter the purpose of Johnson & Johnson’s Pension and Benefits

 Committee (the “Committee”) was, inter alia, to oversee and manage “the various pension, long-

 term incentive, savings, health and welfare plans that cover the Company's employees.” Also by

 virtue of its charter, the Committee was always made up of at least three members of Johnson &

 Johnson’s Board of Directors.

        126.    The Committee was a named fiduciary of the Plan during the Class Period, with

 general authority to carry out essentially all fiduciary functions for the Plans.

        127.    Defendants Fasolo, Caruso and Doe Defendants 1-20 were the members of the

 Committee responsible for exercising that primary fiduciary authority.

        128.    ERISA also defines fiduciary status so that anyone is a fiduciary “to the extent”

 they in fact perform a fiduciary function. ERISA § 3(21)(A), 29 U.S.C. § 1002(21)(A). Thus in

 addition to expressly designated fiduciaries, anyone is a fiduciary “to the extent” he “exercises

 any discretionary authority or discretionary control respecting management of such plan” or

 “exercises any authority or control respecting management or disposition of its assets” or “has

 any discretionary authority or discretionary responsibility in the administration of such plan.” Id.

        129.    As this Court has previously recognized, “[t]he definition of ‘fiduciary’ under



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 ERISA has a functional componenta fiduciary's status is determined by the actual ‘control and

 authority’ that he or she exercises with respect to the Plan.” In re Schering-Plough Erisa Litig.,

 2010 WL 2667414, at *9 (D.N.J. June 29, 2010).

            130.   Here, the Individual Defendants exercised control and authority over the Plan as

 members of the Committee.

            131.   In the Third Circuit, an employer whose employees act as named fiduciaries for a

 Plan can be liable under a theory of respondeat superior. McMahon v. McDowell, 794 F.2d 100,

 109 (3d Cir. 1986) (“[I]f a beneficiary or participant can show that the plan fiduciaries breached

 their duties, he may also be able to recover damages, for the benefit of the plan, directly from the

 employer.”).

            132.   Here, the Individual Defendants’ breaches of fiduciary duty occurred during the

 course and scope of their employment with Johnson & Johnson. Indeed, the Individual

 Defendants’ failure to make corrective disclosures was a crucial part of Johnson & Johnson’s

 strategy with respect to asbestos in its talc powder. Thus Johnson & Johnson knowingly

 participated, an encouraged, the Individual Defendants’ fiduciary breaches in this case. Johnson

 & Johnson thus shares liability for the Individual Defendants’ fiduciary breaches in this case.

                                  ERISA’S FIDUCIARY DUTIES

            133.   ERISA §§ 404(a)(1)(A) and (B), 29 U.S.C. §§ 1104(a)(1)(A) and (B), provides, in

 pertinent part, that a fiduciary shall discharge his duties with respect to a plan solely in the interest

 of the participants and beneficiaries, for the exclusive purpose of providing benefits to participants

 and their beneficiaries, and with the care, skill, prudence, and diligence under the circumstances

 then prevailing that a prudent man acting in a like capacity and familiar with such matters would

 use in the conduct of an enterprise of a like character and with like aims.


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        134.    “[T]he duties charged to an ERISA fiduciary are ‘the highest known to the law.’”

 Solis v. Koresko, 884 F. Supp. 2d 261, 292 (E.D. Pa. 2012), aff'd sub nom. Sec’y U.S. Dep't of

 Labor v. Koresko, 646 F. App’x 230 (3d Cir. 2016) (citing Donovan v. Bierwirth, 680 F.2d 263,

 272 n. 8 (2d Cir.1982)) (describing ERISA fiduciary duties as “the highest known to the law”).

        135.    These fiduciary duties under ERISA §§ 404(a)(1)(A) and (B) are referred to as the

 duties of loyalty, exclusive purpose and prudence. They entail, among other things:

                (a) The duty to conduct an independent and thorough investigation into, and to

                    continually monitor, the merits of all the investment alternatives of a plan;

                (b) The duty to avoid conflicts of interest and to resolve them promptly when they

                    occur. A fiduciary must always administer a plan with an “eye single” to the

                    interests of the participants and beneficiaries, regardless of the interests of the

                    fiduciaries themselves or the plan sponsor; and

                (c) The duty to disclose and inform, which encompasses: (1) a negative duty not to

                    misinform; (2) an affirmative duty to inform when the fiduciary knows or

                    should know that silence might be harmful; and (3) a duty to convey complete

                    and accurate information material to the circumstances of participants and

                    beneficiaries.

        136.    According to Department of Labor (“DOL”) regulations and case law interpreting

 these statutory provisions, in order to comply with the prudence requirement under ERISA

 §404(a), a fiduciary must show that: (a) he has given appropriate consideration to those facts and

 circumstances that, given the scope of such fiduciary’s investment duties, the fiduciary knows or

 should know are relevant to the particular investment or investment course of action involved,

 including the role the investment or investment course of action plays in that portion of the plan’s



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 investment portfolio with respect to which the fiduciary has investment duties; and (b) he has acted

 accordingly.

            137.   Even though a plan may be designed, or even required, to hold stock of the plan’s

 sponsor as an investment option, such as an employee stock ownership plan (an “ESOP”), plan

 fiduciaries are nevertheless subject to all of the ordinary fiduciary duties apart from the duty to

 diversify. As the Supreme Court explained, “because ESOP fiduciaries are ERISA fiduciaries and

 because § 1104(a)(1)(B)'s duty of prudence applies to all ERISA fiduciaries, ESOP fiduciaries are

 subject to the duty of prudence just as other ERISA fiduciaries are.” Fifth Third Bancorp v.

 Dudenhoeffer, 134 S. Ct. 2459, 2467 (2014). The Supreme Court held that these fiduciary duties

 trump even the instructions of the plan document: “the duty of prudence trumps the instructions of

 a plan document, such as an instruction to invest exclusively in employer stock even if financial

 goals demand the contrary.” Id. at 2468.

            138.   ERISA § 405 renders plan fiduciaries liable for the breaches of other fiduciaries

 under certain circumstances, such as when a fiduciary knowingly participates in or conceals the

 breach of another fiduciary, if the fiduciary’s own breach enables the breach by the other fiduciary,

 or if the fiduciary is aware of the other fiduciary’s breach yet makes no reasonable effort to correct

 the breach.

                                 CLASS ACTION ALLEGATIONS

            139.   Plaintiffs bring this action as a class action pursuant to Federal Rule of Civil

 Procedure 23(a), (b)(1) and (b)(3) on behalf of a class of persons similarly situated (the “Class”):

            All participants in or beneficiaries the Plans who purchased or held Johnson &
            Johnson stock through their accounts in the Plans during the Class Period,
            excluding Defendants and the Court or any employees of the Court.




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        140.    As used herein, the term “Class Period” means the time beginning not later than

 April 11, 2017 (or such earlier date that disclosure of the truth about asbestos in Johnson &

 Johnson’s talc powder products became inevitable) until December 14, 2018.

        141.    Excluded from the Class are Defendants, the officers and directors of the

 Company, members of their immediate families and their legal representatives, heirs, successors

 or assigns and any entity in which Defendants have or had a controlling interest.

        142.    The members of the Class are so numerous that joinder of all members is

 impracticable. While the exact number of Class members is unknown to Plaintiffs at this time,

 Plaintiffs believe that there are hundreds or thousands of members in the proposed Class. Record

 owners and other members of the Class may be identified from records maintained by the

 Company or its transfer agent and may be notified of the pendency of this action by mail, using

 the form of notice similar to that customarily used in securities class actions.

        143.    Plaintiffs’ claims are typical of the claims of the members of the Class as all

 members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

 federal law that is complained of herein.

        144.    Plaintiffs will fairly and adequately protect the interests of the members of the

 Class and have retained counsel competent and experienced in class and ERISA litigation.

 Plaintiffs have no interests antagonistic to or in conflict with those of the Class.

        145.    Common questions of law and fact exist as to all members of the Class and

 predominate over any questions solely affecting individual members of the Class. Among the

 questions of law and fact common to the Class are:

                   Whether Defendants had actual or constructive knowledge that Johnson &

                    Johnson’s stock price was artificially inflated during the Class Period;



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                      Whether disclosure that Johnson & Johnson’s talc products was inevitable

                       during the Class Period;

                      Whether Defendants had the authority to make corrective disclosure for

                       Johnson & Johnson regarding asbestos in the talc powder;

                      Whether Defendants’ failure to make corrective disclosure regarding asbestos

                       in the talc powder once disclosure of those facts became inevitable caused

                       Plaintiffs and the Plans to overpay for Johnson & Johnson stock during the

                       Class Period; and

                      Whether Defendants’ failure to make corrective disclosure regarding asbestos

                       in the talc powder once disclosure of those facts became inevitable caused

                       additional declines to the value of the Johnson & Johnson stock held by

                       Plaintiffs and the Plans as a result of the delayed disclosure.

            146.   There are no substantial individual questions among Class members on the merits

 of this action.

            147.   Plaintiffs’ claims are typical of the members of the Class.

            148.   Plaintiffs have been injured by the alleged breaches of fiduciary duties and are

 committed to fairly, adequately and vigorously representing and protecting the interests of Class

 members.

            149.   Plaintiffs have retained counsel who are experienced in class action litigation in

 general and who have significant experience successfully representing ERISA plan participants

 in claims related to ERISA’s fiduciary duties.

            150.   Neither Plaintiffs, nor their counsel, have any interests that would cause them to

 refrain from vigorously pursuing this action.


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         151.     Plaintiffs are adequate class representatives.

         152.     Class certification of Plaintiffs’ claims is appropriate pursuant to Fed. R. Civ. P.

 23(b)(1) because the prosecution of separate actions by individual Class members would create a

 risk of inconsistent or varying adjudications which would establish incompatible standards of

 conduct for Defendants, and/or because adjudications with respect to individual Class members

 would as a practical matter be dispositive of the interests of non-party Class members.

         153.     In the alternative, class certification is also appropriate under Fed. R. Civ. Pro.

 23(b)(3) because common issues of law and fact predominate over questions affecting only

 individual members of the Class and because a class action is superior to all other available

 methods for the fair and efficient adjudication of this controversy since joinder of all members is

 impracticable.

         154.     There will be no difficulty in the management of this action as a class action.

                                          CAUSES OF ACTION

                                               COUNT I
                                       Breach of Fiduciary Duty
                                 ERISA § 404(a)(1), 29 U.S.C. § 1104(a)(1)
                                            All Defendants

         155.     Plaintiffs repeat and reallege each of the allegations in the foregoing paragraphs

 as if fully set forth herein.

         156.     ERISA § 404, 29 U.S.C. §1104, requires ERISA fiduciaries to perform their

 fiduciary duties and responsibilities prudently, as would an experienced ERISA fiduciary, and

 loyally, exclusively in the interest of the plan and its participants for the purpose of providing

 benefits.

         157.     As alleged above, the Individual Defendants were express fiduciaries for the Plans.




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            158.   The Individual Defendants were actually or constructively aware that the J&J stock

 in the Plans was artificially inflated in value, and were or should have been aware that disclosure

 of the truth about asbestos in the talc powder was inevitable. The Individual Defendants, as the

 Plans’ fiduciaries, could, and should, have acted to protect the Plans, including making corrective

 disclosure publicly admitting the existence of asbestos in Johnson & Johnson’s talc powder.

            159.   But the Individual Defendants did not take action to protect the Plans. The

 Individual Defendants failed to make any corrective disclosure, and in the interim Plaintiffs and

 the Class Members continued to acquire and hold Johnson & Johnson stock at an inflated price.

 The Individual Defendants failure to make any corrective disclosure have compounded the

 reputational and goodwill harm that Plaintiffs and the Class Members have suffered and will

 suffer as the truth about asbestos in Johnson & Johnson’s talc powder becomes known to the

 public.

            160.   The Individual Defendants failure to make a corrective disclosure once disclosure

 of the truth about asbestos in Johnson & Johnson’s talc powder became inevitable violated the

 Individual Defendants’ duties of prudence and loyalty under ERISA § 404(a).

            161.   Johnson & Johnson knew about, and encouraged, Individual Defendants’ failure

 to make appropriate corrective disclosures regarding asbestos in its talc powder. Indeed, silence

 about and concealment of asbestos in the talc powder were part a Johnson & Johnson’s corporate

 strategy. Thus the Individual Defendants’ failure to make corrective disclosures were taken within

 the course and scope of their employment with Johnson & Johnson, and Johnson & Johnson

 knowingly participated in the Individual Defendants’ fiduciary breaches.

            162.   These actions, and failures to act, violated the duties of prudence and loyalty

 contained in ERISA § 404(a).


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         163.    Under ERISA § 409(a), 29 U.S.C. § 1109(a), a fiduciary that violates any of

 ERISA’s duties, including ERISA § 404(a), must “make good” to the plan the losses to the plan

 resulting from its violations, and is “subject to such other equitable or remedial relief as the court

 may deem appropriate.”

         164.    Thus under ERISA §§ 502(a)(2) and 409(a), 29 U.S.C. §§ 1132(a)(2) and 1109(a),

 Defendants are liable, in an amount to be determined at trial, for the losses to the Plan caused by

 their violations of ERISA § 404(a), and are “subject to such other equitable or remedial relief” as

 the Court “may deem appropriate.”

         165.    Under ERISA § 502(a)(3), Defendants are also subject to appropriate equitable

 relief including, but not limited to, constructive trust and equitable surcharge.

                                          COUNT II
                                 Breach of Co-Fiduciary Duty
                         ERISA § 405(a)(1)-(3), 29 U.S.C. § 1105(a)(1)-(3)
                                        All Defendants

         166.    Plaintiffs repeat and reallege each of the allegations in the foregoing paragraphs

 as if fully set forth herein.

         167.    A fiduciary with respect to a plan liable for the breach “of another fiduciary” for

 the same plan if “he participates knowingly in, or knowingly undertakes to conceal, an act or

 omissions of such other fiduciary, knowing such act or omission is a breach,” ERISA § 405(a)(1),

 or if, “by his failure to comply with [his fiduciary duties] in the administration of his specific

 responsibilities which give rise to his status as a fiduciary, he has enabled such other fiduciary to

 commit a breach,” ERISA § 405(a)(2), or if “he has knowledge of a breach by some other

 fiduciary, unless he makes reasonable efforts under the circumstances to remedy the breach.”

 ERISA § 405(a)(3).




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            168.   Pursuant to § 405 of ERISA, 29 U.S.C. § 1105, Defendants are also liable as co-

 fiduciaries with respect to the above-described violations because they participated knowingly in

 their co-fiduciaries’ breaches; enabled other fiduciaries to violate ERISA by virtue of their own

 breaches of fiduciary duty; knowingly undertook to conceal those breaches; enabled their co-

 fiduciaries to commit the breaches and failed to make any reasonable efforts to remedy the

 breaches.

            169.   ERISA § 502(a)(2) permits plan participants, such as Plaintiffs, to bring civil

 actions for “appropriate relief” under ERISA § 409.

            170.   Under ERISA § 409(a), a fiduciary that violates any of ERISA’s duties, including

 ERISA § 405(a)(1), (a)(2) and (a)(3), must “make good” to the Plans the losses to the Plans

 resulting from its violations of ERISA § 405(a)(1), (a)(2) and (a)(3), and is “subject to such other

 equitable or remedial relief as the court may deem appropriate.”

            171.   Thus Defendants are liable, in an amount to be determined at trial, for the losses

 to the ESOP caused by their violations of ERISA § 405(a)(1), (a)(2) and (a)(3), and are “subject

 to such other equitable or remedial relief” as the Court “may deem appropriate.”

            172.   Under ERISA § 502(a)(3), Defendants are also subject to appropriate equitable

 relief including, but not limited to, constructive trust and equitable surcharge.

                                       PRAYER FOR RELIEF

 WHEREFORE, Plaintiffs pray for judgment as follows:

            A.     Determine that the instant action may be maintained as a class action under Rule

 23, Federal Rules of Civil Procedure, appointing Plaintiffs as class representatives, and

 determining that Plaintiffs’ counsel satisfies the prerequisites of Rule 23(g);

            B.     Declare that Defendants breached their ERISA fiduciary duties to the Plans;


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        C.      Enjoin Defendants from further violations of their fiduciary responsibilities,

 obligations, and duties and from further engaging in transactions prohibited by ERISA;

        D.      Order that Defendants make good to the Plans the losses resulting from their serial

 breaches of fiduciary duty;

        E.      Order that Defendants disgorge any profits that they have made through their

 breaches of fiduciary duty and prohibited transactions and impose a constructive trust and/or

 equitable lien on any funds received by Defendants therefrom;

        F.      Order any other available equitable relief, or remedies, including but not limited

 to, the imposition of a surcharge, the restoration of the Plans to the position they would have been

 but for the breaches of fiduciary duty and self-dealing; and any other kind of relief and/or damages

 available pursuant to ERISA §§ 409 and 502(a)(2) and (3);

        G.      Award Plaintiffs’ reasonable attorneys’ fees and costs of suit incurred herein

 pursuant to ERISA § 502(g), 29 U.S.C. § 1132(g), and/or for the benefit obtained for the Plans;

        H.      Order Defendants to pay prejudgment interest; and

        I.      Award such other and further relief as the Court deems equitable and just.

                                  DEMAND FOR JURY TRIAL

        Plaintiffs hereby demand a trial by jury in this action of all issues so triable.



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                         LOCAL CIVIL RULE 11.2 CERTIFICATION

        Pursuant to Local Civil Rule 11.2, I hereby certify that the matter in controversy is

 related to the following civil action:

        • Frank Hall v. Johnson & Johnson, Alex Gorsky, and Dominic J. Caruso
          (3:18-cv-01833-FLW-TJB)
        I hereby certify that the following statements made by me are true. I am aware that if any

 of the foregoing statements made by me are willfully false, I am subject to punishment.

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